Case 2:06-cr-20185-VAR-VMM ECF No. 276, PageID.1849 Filed 02/18/09 Page 1 of 15




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION



 UNITED STATES OF AMERICA,

               Plaintiff,                    CRIMINAL NO. 06-20185

        v.                                   DISTRICT JUDGE VICTORIA A. ROBERTS

 MICHAEL ELDREN BRACEY (D-3),                MAGISTRATE JUDGE VIRGINIA M. MORGAN

             Defendant.
 ________________________________/

                            REPORT AND RECOMMENDATION

 I. Introduction

        In this case, defendant, along with four co-defendants, is charged in an Indictment with

 Conspiracy to Use Interstate Commerce Facilities in the Commission of Murder for Hire in

 violation of 18 U.S.C. § 1958 (D/E #1). This matter comes before the Court on Defendant

 Michael Eldren Bracey’s Motion to Suppress Statements (D/E #138) and Supplemental Brief in

 Support of Defendant’s Motion to Suppress Statements (D/E #169). The government filed a

 response in opposition to defendant’s motion (D/E #188). On January 15, 2009, this Court held

 a hearing on defendant’s motion and, at that hearing, both defendant and the government agreed

 that an evidentiary hearing was unnecessary and that this motion could be decided on the

 evidence and arguments submitted by the parties. For the reasons stated below, this Court

 recommends that defendant’s motion to suppress statements be DENIED.



                                                -1-
Case 2:06-cr-20185-VAR-VMM ECF No. 276, PageID.1850 Filed 02/18/09 Page 2 of 15




 II. Background

        In this case, defendant, along with four co-defendants, is charged in an Indictment with

 Conspiracy to Use Interstate Commerce Facilities in the Commission of Murder for Hire in

 violation of 18 U.S.C. § 1958 (D/E #1). As a preliminary matter, this Court would note that,

 included among the evidence relied upon by the parties, are documents relating to another case.

 In Cr. No. 07-20606, before the Honorable Nancy G. Edmunds, defendant was charged in a

 three-count Indictment with Possession with Intent to Distribute Crack Cocaine in violation of

 21 U.S.C. § 841(a)(1), Possession of Firearms in Furtherance of a Drug Trafficking Crime in

 violation of 18 U.S.C. § 924(c)(1)(A), and Felon in Possession of a Firearm in violation of 18

 U.S.C. § 922(g). Defendant filed a motion in that case seeking to suppress the statements taken

 on April 13, 2006, and that motion is substantially similar to the motion to suppress pending in

 this case. On June 26, 2008, Judge Edmunds held a hearing on the motion and subsequently

 denied it. On July 31, 2008, in Cr. No. 07-20606, a jury found defendant guilty of possession

 with intent to distribute 50 grams or more of cocaine base; of possessing a firearm in furtherance

 of a drug trafficking offense; and of being a felon in possession of a firearm.

        A. Factual Background

        On December 27, 2005, defendant was shot at least nine times: twice in the left thigh,

 twice in the right thigh, and four times in the perinal (pelvic) region. (Tr. 11, 98)1 Defendant




        1
        All citations to a transcript refer to the transcript of the evidentiary hearing held by
 Judge Edmunds in Cr. No. 07-20606. In this case, the transcript is attached as Exhibit A to the
 Government’s Response to Defendant’s Motion to Suppress.

                                                 -2-
Case 2:06-cr-20185-VAR-VMM ECF No. 276, PageID.1851 Filed 02/18/09 Page 3 of 15




 was not shot in the head, but he did report that he believed he had been pistol whipped in the

 head. (Tr. 26-27, 135-136)

        Defendant’s right proximal femur was fractured and he was transported to the Emergency

 Room at Detroit Receiving Hospital for treatment. (Tr. 9-10) On December 28, 2005, Dr.

 Robert Krugel, an orthopedic surgeon, performed a surgery in an attempt to repair defendant’s

 right femur. (Tr. 7, 9, 12) During that surgery, Dr. Krugel placed a metal rod into defendant’s

 leg. (Tr. 12-13) Defendant was later discharged from the hospital and given a prescription for

 Percocet. (Tr. 13-14, 99)

        On January 20, 2006, defendant was admitted to Detroit Receiving Hospital complaining

 of pain and an x-ray revealed that the metal rod that was in his femur had started moving and

 cutting out from the top part of defendant’s bone. (Tr. 15) Dr. Krugel performed another

 surgery on defendant by removing the metal rod from defendant’s femur and placing a “metal

 plate and screws across the fracture site, trying to better secure it.” (Tr. 16) Defendant was

 discharged on January 26, 2006, and he was again prescribed Percocet for any pain. (Tr. 16,

 100)

        About two weeks after that second surgery, defendant had a follow-up visit to the

 hospital and an x-ray revealed that the metal plate was starting to bend. (Tr. 16) On February

 26, 2006, defendant returned to the emergency room complaining of pain in his right leg and Dr.

 Krugel subsequently performed an osteotomy on defendant. (Tr. 17-18) During that osteotomy,

 Dr. Krugel took the metal plate out, broke and aligned the bone, and put another plate in. (Tr.

 18) On March 17, 2006, defendant was discharged from the hospital and prescribed Percocet for


                                                 -3-
Case 2:06-cr-20185-VAR-VMM ECF No. 276, PageID.1852 Filed 02/18/09 Page 4 of 15




 any pain. (Tr. 21)2 However, defendant was unable to obtain Percocet and, instead, he was

 given ten Vicodin pills as part of kit. (Tr. 105) Defendant returned to the hospital on March 18,

 2006, and received a prescription for more Vicodin. (Tr. 105-106)

        At the evidentiary hearing, Dr. Krugel testified that it is “uncommon” for a patient to

 have three separate surgeries of the type defendant had. (Tr. 19, 21) Dr. Krugel also testified

 that defendant’s fracture was not healed at the time of his discharge from the hospital and that it

 usually takes about eighteen months for the type of fracture defendant suffered to heal. (Tr. 21)

 Dr. Krugel further testified that, given the nature of defendant’s injury, defendant could have

 suffered intense pain if he was bumped on his right leg a month-and-a-half after his March 17,

 2006 discharge. (Tr. 21-22)

        Defendant testified at the evidentiary hearing that he experienced pain following his

 surgeries. (Tr. 101) Defendant described the pain he was experiencing as “a constant pain,

 because I might have pain shooting from my right leg to my left leg, maybe my head, and then

 some days all at one time, and I was weak and couldn’t do nothing.” (Tr. 110) Defendant also

 testified that he relied on a walker and a wheelchair to get around and that he wore a hard plastic

 leg brace at all times. (Tr. 108, 113) Defendant further testified that he was instructed not to put

 weight on his leg and that he regularly cleaned his wounds, which involved removing the brace,

 removing the bandages, draining the wounds, wiping his wounds with gauze, spraying the




        2
         Defendant’s Discharge Instruction Record, dated March 17, 2006, was entered as
 Exhibit 1 to Defendant’s Motion to Suppress.

                                                 -4-
Case 2:06-cr-20185-VAR-VMM ECF No. 276, PageID.1853 Filed 02/18/09 Page 5 of 15




 wounds with a gel, reapplying gauze, taping the gauze, and replacing the leg brace. (Tr.

 102-103)

        Both Dr. Krugel and defendant testified that the medical records from defendant’s

 treatment fail to demonstrate any brain injury, or mental or cognitive deficits and that defendant

 has never complained of or been treated for short-term memory loss, drooling, confusion, slurred

 speech and narcolepsy. (Tr. 27-30, 136-138) Dr. Krugel also testified that he never observed

 defendant suffering from any such ailments, but they are sometimes side effects to the

 medication that defendant had been prescribed. (Tr. 30-32)

        On April 8, 2006, Detroit Police officers and FBI agents executed a search warrant at

 defendant’s home. (Tr. 42, 74) Detroit Police officer Carmen Diaz testified that she led the

 search. (Tr. 75) Diaz also testified that she advised defendant of his rights on that date and that,

 after he signed an advice of rights form,3 she interviewed defendant. (Tr. 75-77) According to

 Diaz, she spoke with defendant for thirty minutes and defendant seemed normal. (Tr. 76) Diaz

 did not observe defendant slurring his speech or drooling. (Tr. 76) Diaz did testify that

 defendant “had a hard time walking with the walker, and . . . had a brace on his mid section” (Tr.

 75-76) and that, although there was probable cause to arrest defendant at that time, she decided

 not to arrest him because the investigation was still ongoing and because defendant’s “medical

 condition” and the procedures of the Detroit Police Department would have required that

 defendant be taken to a hospital, which was not feasible in the “raid van” the police were using.



        3
         A Certificate of Notification signed by defendant and dated April 8, 2006, is attached as
 Exhibit F to the Government’s Response to Defendant’s Motion to Suppress Statements.

                                                 -5-
Case 2:06-cr-20185-VAR-VMM ECF No. 276, PageID.1854 Filed 02/18/09 Page 6 of 15




 (Tr. 79, 81-82, 90) FBI Special Agent Peter Lucas testified at the evidentiary hearing that he

 was present for that search, he observed defendant for around thirty minutes, and, while

 defendant had limited mobility, defendant did not appear to be in any pain. (Tr. 43-44)

        On April 12, 2006, Dr. Krugel examined defendant again. (Tr. 29) Dr. Krugel testified

 that, during the examination, defendant reported that he had minimal pain and that he was not

 taking any medication at that time. (Tr. 29) Dr. Krugel also testified that defendant had the

 ability to take prescription pain medication had he chosen to, but had ceased taking it based upon

 his own determination that his pain was minimal. (Tr. 29) Dr. Krugel further testified that any

 adverse side-effects that defendant might have incurred from the medication would have

 dissipated once he ceased taking that medication. (Tr. 32) Defendant testified at first that he

 was not in pain on April 12, 2006, “because I already took pain medication to get to the hospital .

 . ..” (Tr. 109) However, after defendant’s attorney noted that the medical report “says that you

 weren’t even taking pain medication on that day” (Tr. 109), defendant admitted that he was not

 taking any medication at that time. (Tr. 109)

        On April 13, 2006, defendant was arrested and interviewed by law enforcement officers.

 Defendant and law enforcement officers have conflicting versions of what happened on that day.

 Defendant testified that, on April 13, 2006, he awoke around 3:00 a.m. because of pain and that

 he then cleaned his wound and changed his brace. (Tr. 109-110) Defendant also testified that,

 as he was lying on the couch around 6:00 a.m., the FBI and police came in. (Tr. 110-111)

 According to defendant, he was taken from his home and, while in the parking garage of the

 McNamara Building, his right leg slammed into a car and he was in great pain. (Tr. 120)


                                                 -6-
Case 2:06-cr-20185-VAR-VMM ECF No. 276, PageID.1855 Filed 02/18/09 Page 7 of 15




 Defendant testified that he immediately asked for pain medication, but his request was denied.

 (Tr. 121) Defendant also testified that he asked for pain medication again while in an elevator,

 but his request was denied for a second time. (Tr. 122) Defendant further testified that he asked

 for pain medication for a third time when he arrived in the interview room, and that his request

 was once again denied. (Tr. 123) According to defendant, Lucas told defendant that defendant

 was not going to get any medication until “after the fact” and Lucas only gave defendant a bagel.

 (Tr. 123) Defendant starting answering questions, but he asserts that he only did so because his

 pain was uncontrollable and he thought the only way he was going to get medication was to do

 so. (Tr. 123-124) Defendant also testified that, after the questioning was over, Lucas told him to

 sign an advice of rights form, which defendant did.4 (Tr. 123, 127-128) Defendant further

 testified that Lucas gave defendant pain medication after the questioning was over. (Tr. 128)

        Lucas testified that, on April 13, 2006, the law enforcement officers arrived at

 defendant’s house at 6:44 a.m. (Tr. 45) Defendant was arrested and, according to Lucas,

 defendant did not appear to be in any pain and he did not ask for any medications. (Tr. 44,

 47-48) Lucas also testified that they arrived at the FBI’s office in the McNamara Building

 around 7:25 a.m. and that it took another twenty minutes to get defendant from the parking area

 to the interview room. (Tr. 48) Lucas furthered testified that he advised defendant of

 defendant’s Miranda5 rights prior to the beginning of the interview and that defendant signed a



        4
        The signed Advice of Rights form is attached as Exhibit D to the Government’s
 Response to Defendant’s Motion to Suppress Statements.
        5
         Miranda v. Arizona, 384 U.S. 436, 86 S.Ct. 1602, 16 L.Ed.2d 694 (1966).

                                                -7-
Case 2:06-cr-20185-VAR-VMM ECF No. 276, PageID.1856 Filed 02/18/09 Page 8 of 15




 form acknowledging his rights. (Tr. 48-49) According to Lucas, defendant agreed to speak with

 Lucas and defendant did not complain of pain, request any pain medication, or appear to be in

 pain. (Tr. 49-50) Lucas also testified that the interview lasted approximately two hours and that,

 during the interview, defendant was offered and ate a bagel. (Tr. 50) Lucas further testified that

 defendant did not appear to be in any pain, had no trouble understanding questions, had no

 trouble answering any questions, had no memory problems, did not slur his speech, did not

 drool, and did not have any trouble staying awake. (Tr. 51-53) According to Lucas, defendant

 asked for and received water following the interview. (Tr. 50) Lucas also testified that, after

 they left the FBI’s office and arrived at the federal courthouse around 10:15 a.m., defendant

 asked for and received a Vicodin. (Tr. 52-53) Lucas did not record the interview or seek

 permission to record the interview because he did not think it was warranted. (Tr. 63-64)

        Diaz testified that she was present at the arrest defendant on April 13, 2006. (Tr. 77-78)

 According to Diaz, while Detroit Police procedures would have required that defendant be taken

 to a hospital after the arrest, the arrest was made by the FBI and the FBI had different procedures

 and policies. (Tr. 90) Diaz also testified that she was present for the interrogation of defendant

 and that, during the interview, defendant did not appear to be in any pain, did not slur his speech,

 did not drool, was not fighting off sleep and did not have any memory problems. (Tr. 78-79)

        After the interview, defendant was transferred to the U.S. Marshal’s Lockup at the

 Federal Courthouse and, later, to the Wayne County Jail. (Tr. 129-130) At the Wayne County

 Jail, a nurse named Renella Thomas saw defendant around 9:00 p.m. (Tr. 37-38, 40) According




                                                 -8-
Case 2:06-cr-20185-VAR-VMM ECF No. 276, PageID.1857 Filed 02/18/09 Page 9 of 15




 to Thomas’ records, defendant had both a wheelchair and walker with him, complained of pain,

 and did not have any medications.6 (Tr. 40)

        B. Procedural History

        Defendant, along with four co-defendants, is charged in an Indictment with Conspiracy to

 Use Interstate Commerce Facilities in the Commission of Murder for Hire in violation of 18

 U.S.C. § 1958 (D/E #1).

        On July 18, 2008, defendant filed a Motion to Suppress Statements given by defendant at

 the FBI Detroit Field Office on April 13, 2006 (D/E #138). In that motion, defendant argues that

 his statements should be suppressed because the agents failed to advise defendant of his rights

 under Miranda prior to questioning. Defendant also argues that his statements should be

 suppressed because his statements were not voluntary given that law enforcement officers denied

 defendant access to pain medications until he talked to them. Defendant further argues that, if

 the Court denies defendant’s request to suppress all of his statements, the Court should still

 exclude all references to the drug and gun offenses of Cr. No. 07-20606, before Judge Edmunds

 because such other acts evidence would constitute improper character evidence and be unduly

 prejudicial to defendant.

        On August 8, 2008, defendant filed a Supplemental Brief in Support of Motion to

 Suppress Statements (D/E #169). In that supplemental brief, defendant primarily addresses the




        6
        A Progress Report regarding defendant written by Thomas is Exhibit 2 to Defendant’s
 Motion to Suppress Statements.

                                                 -9-
Case 2:06-cr-20185-VAR-VMM ECF No. 276, PageID.1858 Filed 02/18/09 Page 10 of 15




  factual basis of defendant’s motion in light of the transcript of an evidentiary hearing on the

  similar motion in Cr. No. 07-20606 before Judge Edmunds.

         On November 18, 2008, the government filed a Response to Defendant’s Motion to

  Suppress Statements (D/E #188). In that response, the government argues that the motion should

  be denied because defendant was advised of his Miranda rights and voluntarily gave a statement

  on April 13, 2006. The government also stipulated that it will not offer defendant’s statements

  regarding the drug and gun case in its case-in-chief in the instant case and that, while the

  stipulation does not extend to the potential use of those statements for impeachment purposes

  where appropriate, the government would request permission from the Court if it seeks to use

  defendant’s statements regarding the drug and gun case for impeachment purposes.

  III. Discussion

          A. Miranda Warnings

         Before the police may interrogate a suspect in custody, they must first read the Miranda

  warnings. Miranda v. Arizona, 384 U.S. 436, 86 S.Ct. 1602, 16 L.Ed.2d 694 (1966); U.S. v.

  Pacheco-Lopez, 531 F.3d 420, 423-424 (6th Cir. 2008). An “interrogation” comprises “not only

  [ ] express questioning, but also any words or actions on the part of the police that the police

  know are reasonably likely to elicit an incriminating response from the suspect.” Rhode Island

  v. Innis, 446 U.S. 291, 301, 100 S.Ct. 1682, 64 L.Ed.2d 297 (1980). Miranda warnings are not,

  however, required for questions “reasonably related to the police’s administrative concerns,”

  such as the defendant's name, address, height, weight, eye color, date of birth and current

  address. Pennsylvania v. Muniz, 496 U.S. 582, 601, 110 S.Ct. 2638, 110 L.Ed.2d 528 (1990);


                                                  -10-
Case 2:06-cr-20185-VAR-VMM ECF No. 276, PageID.1859 Filed 02/18/09 Page 11 of 15




  United States v. Clark, 982 F.2d 965, 968 (6th Cir. 1993) (“ordinarily ... the routine gathering of

  biographical data for booking purposes should not constitute interrogation under Miranda ”).

  Where, as here, a statement is obtained by custodial interrogation, the prosecution has the burden

  of showing the use of the procedural safeguards, including the burden of showing that an

  accused received the required warnings. U.S. v. Short, 790 F.2d 464, 467-468 (6th Cir. 1986).

         In this case, defendant testified that he was not advised of his Miranda rights prior to

  being questioned and that he only signed an Advice of Rights form after the questioning was

  over. (Tr. 123, 127-128) However, Lucas testified that the Miranda warnings were given prior

  to the beginning of the interview (Tr. 48-49) and that testimony is supported by the Advice of

  Rights form signed by defendant and which indicated it was signed at 7:51 a.m. (Advice of

  Rights form, attached as Exhibit D to the Government’s Response to Defendant's Motion to

  Suppress) Lucas’ testimony and the signed Advice of Rights form are also corroborated by the

  FBI transcriptions describing the events of April 13, 2006. (FBI Transcriptions, attached as

  Exhibits B and C to the Government's Response to Defendant's Motion to Suppress) In light of

  the testimony of Lucas and the evidence provided by the government, especially the Advice of

  Rights form signed by defendant and demonstrating that defendant was advised of his rights

  prior to being questioned, this Court finds that the government has met its burden of showing

  defendant received the required warnings and defendant’s statements should not be suppressed

  on that basis.




                                                 -11-
Case 2:06-cr-20185-VAR-VMM ECF No. 276, PageID.1860 Filed 02/18/09 Page 12 of 15




         B. Waiver of Miranda Rights

         Defendant also argues that any statements he gave were coerced and involuntary because

  law enforcement officers denied defendant access to pain medications until after he talked to

  them. A defendant may waive his or her Miranda rights, but the waiver must be voluntary,

  knowing, and intelligent, based on the totality of the circumstances. Moran v. Burbine, 475 U.S.

  412, 421, 106 S.Ct. 1135, 89 L.Ed.2d 410 (1986). The government has the burden of proving by

  a preponderance of the evidence that the waiver was voluntary; however, in order for the waiver

  to be involuntary, there must be “an element of police coercion.” Seymour v. Walker, 224 F.3d

  542, 554 (6th Cir.2000) (citing Colorado v. Connelly, 479 U.S. 157, 169-71, 107 S.Ct. 515, 93

  L.Ed.2d 473 (1986)). “Only if the ‘totality of the circumstances surrounding the interrogation’

  reveal both an uncoerced choice and the requisite level of comprehension may a court properly

  conclude that the Miranda rights have been waived.” Moran, 475 U.S. at 421 (quoting Fare v.

  Michael C., 442 U.S. 707, 725, 99 S.Ct. 2560, 61 L.Ed.2d 197 (1979)).

         In this case, the totality of the circumstances surrounding the interrogation reveals that

  defendant voluntarily waived his rights and gave a statement to the FBI. While defendant

  testified that he was only answered Lucas’ questions because he needed pain medication and

  Lucas would only give him the pain medication if he answered the questions (Tr. 123-124), both

  Lucas and Diaz testified that defendant never asked for any pain medication and that defendant

  did not appear to be in any pain (Tr. 49-50, 78-79). Specifically, Lucas testified that defendant

  did not appear to be in any pain, had no trouble understanding questions, had no trouble

  answering any questions, had no memory problems, did not slur his speech, did not drool, and


                                                 -12-
Case 2:06-cr-20185-VAR-VMM ECF No. 276, PageID.1861 Filed 02/18/09 Page 13 of 15




  did not have any trouble staying awake. (Tr. 51-53) Diaz specifically testified that she was

  present for the interrogation of defendant and that, during the interview, defendant did not appear

  to be in any pain, did not slur his speech, did not drool, was not fighting off sleep and did not

  have any memory problems. (Tr. 78-79)

         The law enforcement officers’ testimony regarding defendant’s lack of pain is

  corroborated by Dr. Krugel’s testimony and defendant’s medical reports. As demonstrated by

  that evidence, on the day before defendant was interrogated, he only had minimal pain and he

  had, by his choice, ceased taking medication due to the lack of pain. (Tr. 29) Similarly, Dr.

  Krugel does not remember any drooling, slurring of words, memory loss, narcolespsy or

  confusion by defendant. (Tr. 27-30)

         Moreover, defendant’s testimony regarding the medical examination that took place the

  day before his arrest weakens defendant’s credibility. Defendant first testified that he was not in

  pain on April 12, 2006, “because I already took pain medication to get to the hospital” and it was

  only after his attorney noted what the medical report said that defendant admitted that he was not

  taking any medication at that time. (Tr. 109) Defendant was thirty-six years old at the time of

  the April 13, 2006 interview and he considers himself to be an intelligent man, to the point

  where he researched for and helped conceptualize a motion to dismiss in the case before Judge

  Edmunds. (Tr. 96, 131-133) Furthermore, as noted by the government, defendant’s allegations

  of uncontrollable pain appear to conflict with his very detailed testimony regarding the events of

  April 13, 2006.




                                                  -13-
Case 2:06-cr-20185-VAR-VMM ECF No. 276, PageID.1862 Filed 02/18/09 Page 14 of 15




         In light of the above evidence and the totality of the circumstances surrounding the

  interrogation of defendant, this Court finds that defendant’s statements were voluntary and that

  his statements should not be suppressed.

         C. Other Acts Evidence

         Defendant also argues that, if the Court denies defendant’s request to suppress all of his

  statements, the Court should still exclude all references to the drug and gun offenses of Cr. No.

  07-20606, before Judge Edmunds. In response, the government stipulated that it will not offer

  defendant’s statements regarding the drug and gun case in its case-in-chief in the instant case and

  that, while the stipulation does not extend to the potential use of those statements for

  impeachment purposes where appropriate, the government would request permission from the

  Court if it seeks to use defendant’s statements regarding the drug and gun case for impeachment

  purposes. Given that response, this Court finds that defendant’s motion is moot to the extent he

  requests suppression of other acts evidence.

  IV. Conclusion

         For the reasons discussed above, this Court recommends that defendant’s motion be

  DENIED.

         The parties to this action may object to and seek review of this Report and

  Recommendation, but are required to act within ten (10) days of service of a copy hereof as

  provided for in 28 U.S.C. § 636(b)(1) and E.D. Mich. LR 72.1(d)(2). Failure to file specific

  objections constitutes a waiver of any further right of appeal. Thomas v. Arn, 474 U.S. 140

  (1985); Howard v. Secretary of HHS, 932 F.2d 505, 508 (6th Cir. 1991); United States v.


                                                  -14-
Case 2:06-cr-20185-VAR-VMM ECF No. 276, PageID.1863 Filed 02/18/09 Page 15 of 15




  Walters, 638 F.2d 947, 949-50 (6th Cir. 1981). The filing of objections which raise some issues,

  but fail to raise others with specificity, will not preserve all the objections a party might have to

  this Report and Recommendation. Willis v. Secretary of HHS, 931 F.2d 390, 401 (6th Cir.

  1991); Smith v. Detroit Fed'n of Teachers Local 231, 829 F.2d 1370, 1373 (6th Cir. 1987).

  Pursuant to E.D. Mich. LR 72.1(d)(2), a copy of any objections is to be served upon this

  magistrate judge.

          Within ten (10) days of service of any objecting party's timely filed objections, the

  opposing party may file a response. The response shall be no more than 20 pages in length

  unless, by motion and order, the page limit is extended by the court. The response shall address

  each issue contained within the objections specifically and in the same order raised.



                                          s/Virginia M. Morgan
                                          Virginia M. Morgan
                                          United States Magistrate Judge
  Dated: February 18, 2009




                                          PROOF OF SERVICE

  The undersigned certifies that the foregoing document was served upon counsel of record via the Court’s
  ECF System and/or U. S. Mail on February 18, 2009.

                                                          s/Jane Johnson
                                                          Case Manager to
                                                          Magistrate Judge Virginia M. Morgan




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